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 6                             IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                  )       Case №: 2:13-cr-0412 TLN EFB
                                                )
 9                    Plaintiff,                )                    ORDER
                                                )               APPOINTING COUNSEL
10              vs.                             )
                                                )
11   GABRIEL VARGAS-GUERRERO,                   )
                                                )
12                    Defendant,                )
                                                )
13
            The defendant has, under oath, sworn or affirmed as to his financial inability to employ
14
15   counsel.

16          OFFENSE: 21 USC § 846 (a)(1)
17          CJA Panel attorney Dustin D. Johnson is hereby appointed effective January 16, 2014,
18
     the date the Office of the Federal Defender first contacted him.
19          APPOINTED COUNSEL IS ORDERED TO RETAIN THE SIGNED FINANCIAL AFFIDAVIT
20   SUPPORTING APPOINTMENT.
21
     DATED: 1/17/2014
22
23                                                  ____________________________
                                                    HON. EDMUND F. BRENNAN
24                                                  United States Magistrate Judge

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     ORDER APPOINTING COUNSEL
